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
                              NORTHERN DISTRICT OF CALIFORNIA

                                      SAN FRANCISCO DIVISION

    HUAWEI TECHNOLOGIES CO., LTD., et al.,          CASE NO. 16-cv-02787-WHO

                          Plaintiffs,               REPLY IN SUPPORT OF
                                                 SAMSUNG’S MOTION FOR
            v.                                      SUMMARY JUDGMENT

    SAMSUNG ELECTRONICS CO., LTD., et al.,
                                                 Hearing Date: August 8, 2018
                          Defendants.               Time: 2:00 p.m.
                                                 Place: Courtroom 2, 17th Floor
                                                    Judge: Hon. William H. Orrick
 SAMSUNG ELECTRONICS CO., LTD. &
    SAMSUNG ELECTRONICS AMERICA, INC.

                          Counterclaim-Plaintiffs,

            v.

    HUAWEI TECHNOLOGIES CO., LTD.,
 HUAWEI DEVICE USA, INC., HUAWEI
    TECHNOLOGIES USA, INC., & HISILICON
 TECHNOLOGIES CO., LTD.
                     Counterclaim-Defendants.

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                                                                  Case No. 16-cv-02787-WHO
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 1 I.       INTRODUCTION
 2          In its Motion, Samsung raised several issues that are ripe for summary judgment. Huawei’s

 3 Opposition fails to present any arguments that would generate a genuine issue of material fact.

 4 II.      ARGUMENT
 5          A.     The Accused Samsung Products Do Not Infringe the “Group Number k”
                   Limitation of the ’239 Patent
 6
                   1.      Huawei Varies the Claimed “Group Number k” in Its Infringement
 7                         Analysis, Thereby Violating the Court’s Claim Construction Order
 8          In its Motion, Samsung demonstrated that there is no genuine issue of material fact as to

 9 infringement of the ’239 patent because Huawei’s disclosed infringement theory is that the alleged
10 “group number k” was “u” for the “obtain[ing]” limitation, but then “u+1” for the remaining

11 limitations. (Mot., 2-4.) Huawei attempts to avoid summary judgment by now arguing that its

12 expert Dr. Veeravalli consistently asserts that the claimed “group number k” is “u+1.” (See Opp.,

13 2-3.) But in paragraph 252 of the Veeravalli ’239 Infringement Report, Dr. Veeravalli explicitly

14 states in the section on the limitation “obtain[ing] a group number k of a sequence group allocated

15 by the system” that: “[t]he Infringing Samsung Products perform steps required by the LTE standard

16 to obtain a value for “u,” which is allocated by the system as described in Section 5.5.1.3 (Group

17 hopping).” (Dkt. 333-9 ¶ 252.) Dr. Veeravalli then proceeds to explain how the Accused Samsung

18 Products obtain a value “u” allocated by the system by quoting a portion of the LTE standard that
19 defines “[t]he sequence-group number u” in terms of other parameters received from the network.

20 (Id. (“The sequence-group number u in slot ns is defined by a group hopping pattern 𝑓𝑔ℎ (𝑛𝑠 ) and a

21 sequence-shift pattern 𝑓𝑠𝑠 according to 𝑢 = (𝑓𝑔ℎ (𝑛𝑠 ) + 𝑓𝑠𝑠 )𝑚𝑜𝑑 30 . . . Sequence-group hopping can

22 be enabled or disabled . . . by higher layers. . . . The sequence-shift pattern . . . is configured by

23 higher layers.”) (emphasis added).) Thus, the UE calculates “u” from multiple parameters received

24 from the “higher layers” (i.e., the network). (Id.) Because the only values “allocated” by the system

25 cited by Dr. Veeravalli are the values used to compute the “sequence-group number u,” the value
26 “u” must be the claimed “group number k” that is obtained by the UE. So while Huawei may now
27 assert that its expert points to “u+1” as opposed to “u” for the “obtain[ing]” limitation, Dr.

28 Veeravalli’s ’239 Infringement Report says otherwise.

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 1                  2.      The Accused Products Cannot Infringe Using “u+1” as the Claimed
                            “Group Number k”
 2
            Even if the Court agrees with Huawei that Dr. Veeravalli consistently construes the claimed
 3
     “group number k” as “u+1,” the Samsung Accused Products cannot infringe the “obtain[ing] a group
 4
     number k” limitation for a different reason. The claims require “obtain[ing] . . . a group number k
 5
     of a sequence group allocated by the system.” (’239 patent at 25:3-5 (emphasis added), 26:17-18.)
 6
     Huawei presents no evidence that “u+1” is a value “allocated by the system” that the UE obtains.
 7
     Nowhere in the Veeravalli ’239 Infringement Report does Dr. Veeravalli contend that “u+1” is
 8
     allocated by the system. (Cf. Dkt. 333-9 ¶ 252 (alleging that the Accused Samsung Products “obtain
 9
     a value for ‘u,’ which is allocated by the system”) (emphasis added).)
10
            Nor can he. The only “group number” described in the portion of the LTE standard cited by
11
     Dr. Veeravalli is the “sequence-group number u.” (Dkt. 333-9 (Veeravalli ’239 Infringement
12
     Report) ¶ 252.) By adding 1 to the defined “u” value, the UE transforms “u” from something that
13
     is derived from parameters allocated by the system to something that is neither described as a “group
14
     number” (e.g., group number “u”) in the LTE standard, nor “obtained” by the accused products from
15
     the network. (Id.) Because Dr. Veeravalli has not alleged that the value “u+1” is allocated by the
16
     system (and because it is not, in fact, allocated by the system), the Accused Samsung Products
17
     cannot infringe the asserted claims of the ’239 patent.
18
            Huawei’s doctrine of equivalents argument cannot save its infringement case. (Opp., 3.) As
19
     explained in Samsung’s Motion to Strike and the Reply in support thereof filed concurrently with
20
     this Reply, the doctrine of equivalents argument should be stricken from Dr. Veeravalli’s ’239
21
     Infringement Report because Huawei did not disclose reliance on doctrine of equivalents for the
22
     “obtaining . . . group number k” limitation in its infringement contentions. (Dkt. 334-2 (Motion to
23
     Strike) at 22-24.) For that reason, Huawei’s doctrine of equivalents argument should not be
24
     considered here. In any event, Huawei’s doctrine of equivalents argument fails on the merits as
25
     well. (Mot., 3-4; Dkt. 333-5 (Madisetti Decl.) ¶¶ 15-19.)
26
            B.      The Asserted ’239 Claims Are Either Invalid as Indefinite Or Not Infringed
27
                    1.      The Lack of a Clear Antecedent for “The Sequences” in the Asserted
28                          Claims Renders Them Invalid as Indefinite

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 1          As detailed in Samsung’s Motion, the asserted claims are invalid as indefinite because there

 2 is no clear antecedent for the limitation in claims 7 and 18 “wherein the sequences correspond to at

 3 least one of: Zadoff-Chu sequences and Gauss sequences.” (Mot., 4-7.) Instead, the asserted claims

 4 recite more than one set of sequences, and it is ambiguous whether “the sequences” refer back to all

 5 of those “sequences,” or some subset, making it impossible to determine the scope of the claimed

 6 invention with reasonable certainty and rendering the asserted claims indefinite.

 7          Huawei first responds that there is no ambiguity because “the sequences” in claim elements

 8 [6E] and [17E] allegedly refer back to “corresponding sequences” in claim elements [6D] and [17D].

 9 (Id. at 3-5.) Huawei next asserts that “[t]he claims then refer back to each sequence using different
10 terms.” (Opp., 5.) But Huawei misquotes the claim language in making this argument. Specifically,

11 elements [6C] and [17C] do not refer back to the selected “n sequences” first recited in elements

12 [6B] and [17B] as “the ‘sequences in the candidate sequence collection’” as Huawei contends. (Id.)

13 Rather, those elements merely refer to “a length of a sequence in the candidate sequence collection.”

14 In fact, the term “sequences in the candidate sequence collection” does not appear at all in the

15 asserted claims. Accordingly, Huawei is incorrect when it states that “corresponding sequences . .

16 . is the only remaining sequence without another name used to refer back to it.” (Id.)

17          Huawei’s assertion that the “corresponding sequences” in claim elements [6D] and [17D]

18 “immediately precedes” “the sequences” in claim elements [6E] and [17E] is also incorrect. (See
19 id.) In actuality, “the sequences in the formed sub-group” from claim elements [6D] and [17D] is

20 located between “corresponding sequences” in claim elements [6D] and [17D] and “the sequences”

21 in claim elements [6E] and [17E]. (’239 patent at 25:19-20, 26:30-31.) So based on Huawei’s own

22 logic about the importance of an “immediately preceding” possible antecedent basis, it is equally

23 plausible that the drafter intended for “the sequences” to refer back to “the sequences in the formed

24 sub-group.” This is just the type of confusion that shows indefiniteness inherent in the asserted

25 claims. See Nautilus, Inc. v. Biosig Instruments, Inc., 134 S. Ct. 2120, 2129 (2014) (“[W]e read §
26 112, ¶ 2 to require that a patent’s claims . . . inform those skilled in the art about the scope of the
27 invention with reasonable certainty.”) (emphasis added).

28

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 1          Huawei also does not support its argument that “the sequences” in dependent claims 7 and

 2 18 must refer back to the same set of sequences as “the sequences” in claim elements [6E] and

 3 [17E]. (Opp., 5.) It just repeats its flawed argument discussed above that the asserted claims refer

 4 back to each of the three sets of sequences using different terms. (See id.) Here too, Huawei does

 5 not explain why “the sequences” in the dependent claims could not refer back to “the sequences in

 6 the formed sub-group” in claim elements [6D] and [17D] or any of the preceding “sequences.”

 7 Frank’s Casing Crew & Rental Tools, Inc. v. Weatherford Int’l, Inc., 389 F.3d 1370, 1377 (Fed.

 8 Cir. 2004) (“[T]he same terms appearing in different portions of the claims should be given the same

 9 meaning unless it is clear from the specification and prosecution history that the terms have different
10 meanings at different portions of the claims.”).

11          Huawei also fails to substantively rebut Dr. Veeravalli’s admission that “the sequences” in

12 asserted claim 7 could refer to any one of three equally likely possibilities: “[t]he generated

13 corresponding sequences or the communicated corresponding sequences or the sequences in the

14 subgroup.” (Dkt. 333-11 (“Veeravalli Dep. Tr.”) at 68:25-69:6 (emphasis added).) Huawei says

15 that Dr. Veeravalli “was referring not to three different sequences but to the same sequence in three

16 different scenarios.” (See Opp., 5.) Under Huawei’s interpretation of Dr. Veeravalli’s testimony,

17 each claimed set of “sequences” (of which there are three) thus has multiple different usages or

18 “scenarios”—which only serves to compound the confusion. (See id.) The number of possibilities
19 as to what “the sequences” in asserted dependent claims 7 and 18 could be referring to just continues

20 to grow. Huawei also alleges that Samsung somehow “misuses” Dr. Veeravalli’s testimony as to

21 his understanding of the asserted claims to “make unclear the clear recitation in the claim.” (Id. at

22 6.) Not so. Dr. Veeravalli’s testimony serves to confirm the lack of clarity in the asserted claims.

23 Accordingly, the Court should find the asserted ’239 claims invalid as indefinite.

24                  2.      In the Alternative, the Accused Samsung Products Do Not Infringe
                            Because “The Sequences” Are Not Zadoff-Chu or Gauss Sequences
25
            As explained in Samsung’s Opposition to Huawei’s Daubert Motion on Technical Issues,
26
     the plain and ordinary meaning of the asserted claims of the ’239 patent requires that “the sequences”
27
     in asserted claims 7 and 18 must be at least equivalent to either Zadoff-Chu or Gauss sequences.
28

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 1 (Dkt. 356 at 12-14.) The claim language states that “the sequences correspond to at least one of:

 2 Zadoff-Chu sequences and Gauss sequences.” (’239 patent at 25:24-26, 26:35-36.) Huawei does

 3 not contend that “the sequences” in the Accused Samsung Products for this limitation are themselves

 4 actually Zadoff-Chu or Gauss sequences. (See id.) Instead, Huawei contends that cyclically

 5 extending a Zadoff-Chu sequence results in a sequence that might “correspond” to a Zadoff Chu

 6 sequence because it “comprise[s] a Zadoff-Chu sequence plus a repetition of as much of that

 7 sequence as is necessary to fill out the sequence.” (Opp., 6-7.)

 8          But “corresponding” involves more than just being “related to” a particular object. Merriam-

 9 Webster defines “correspond” as “to be in conformity or agreement,” “to compare closely: match,”
10 or “to be equivalent or parallel.” (Dkt. 356-6 (emphasis added).) The dictionary.com definition of

11 “correspond” cited by Huawei is functionally equivalent to the Merriam-Webster definition. (See

12 Dkt. 352-3.) It defines “correspond” as “to be in agreement or conformity” and as “equivalent in

13 function, position, amount, etc.” (Id. (emphasis added).) Again, “correspond” requires at least an

14 equivalence. Indeed, Huawei provides no evidence that the use a cyclic extension to modify a root

15 Zadoff-Chu sequence results in a sequence that is equivalent to a Zadoff-Chu sequence. Samsung’s

16 expert, on the other hand, offers unrebutted evidence that the extended sequences are in fact not

17 Zadoff-Chu sequences, as Zadoff-Chu sequences are defined in Formula (1) in the ’239 patent. (See

18 Dkt. 356-4 ¶¶ 92-94; Opp. 6-7 (failing to even allege the extended sequences meet this definition).)
19          In any event, Huawei’s proposed interpretation of “correspond” that it need only be similar

20 would render the asserted claims hopelessly vague and ambiguous. How similar (or related) to

21 Zadoff-Chu sequences must the claimed sequences be in order to infringe? Accordingly, if the

22 Court does not find the asserted claims of the ’239 patent invalid as indefinite, it should, in the

23 alternative, find that the Samsung Accused Products do not infringe the asserted claims.

24          C.     The Asserted Claims of the ’239 Patent Contain Unpatentable Subject Matter
25                 1.      Huawei Presents No Basis to Challenge the Court’s Holding That the
                           Asserted ’239 Claims Are Directed to an Abstract Idea
26
            The Court has held that the asserted claims of the ’239 patent are directed to an abstract idea
27
     under Alice step one. (Dkt. 103 at 17.) Huawei asks the Court to change its holding based on “a
28

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 1 fuller record” and “Federal Circuit precedent since the ruling.” (Opp., 8.) On this issue however,

 2 the record evidence that Huawei points to and the Federal Circuit cases that Huawei cites reveals

 3 nothing that justifies a different result than the Court’s previous conclusion.

 4          Huawei points to the unsupported opinions of its expert Dr. Veeravalli as the only part of

 5 the “record” that did not exist during the briefing on Samsung’s Motion to Dismiss (Dkt. 39). (Opp.,

 6 9.; Dkt. 352-85 (“Veeravalli Declaration”).) But the Veeravalli Declaration actually supports the

 7 Court’s holding. Paragraph 12 from the Veeravalli Declaration states that the asserted claims “recite

 8 steps for creating a sub-group of sequences, which the inventors determined have a low correlation,”

 9 and are therefore “directed to . . . defining subgroups in terms of formulas.” This is nothing more
10 than a lengthier restatement of what the court adopted as the abstract idea of the asserted claims.

11 (Compare Veeravalli Declaration ¶ 12, with Dkt. 103 at 17 (“a formula for dividing numerical

12 sequences into non-highly correlated groups”).) The other paragraph that Huawei cites from the

13 Veeravalli Declaration only contains opinions about the results of implementing the asserted claims,

14 not about the actual language of those claims. (See Veeravalli Declaration ¶ 11 (“The claimed

15 invention therefore helps to reduce interference at the base station . . . and increases the base station’s

16 ability to distinguish UEs in its cell.”).) Accordingly, the Veeravalli Declaration actually supports

17 the Court’s holding and does not create a disputed issue of fact.

18          The Federal Circuit cases cited by Huawei that were issued after the Court’s decision on
19 Samsung’s Motion to Dismiss also do not warrant a change in the Court’s holding. First, Huawei

20 never explains which of those cases (if any) changed the analysis under § 101 and how the analysis

21 was changed. (Opp., 8-11.) Second, those cases are either inapposite or did not change the existing

22 framework for analyzing claims under § 101. For example, Huawei cites Thales Visionix Inc. v.

23 United States, 850 F.3d 1343, 1348-49 (Fed. Cir. 2017), for the proposition that “the presence of a

24 mathematical formula in a claim does not make it abstract.” (Opp., 9.) But that was never

25 Samsung’s argument, nor was it part of the Court’s prior conclusion. (Dkt. 103 at 17 (noting
26 Huawei’s argument that “including math does not render claims patent ineligible” and holding that
27 the ’239 claims are directed to an abstract idea on other grounds).)           Instead, the abstract idea

28 contained in the asserted claims—creating groups of numeric sequences that are not highly

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 1 correlated with each other—is revealed by the claim language and the specification of the ’239

 2 patent, not by the mere presence of a mathematical formula. (Dkt. 103 at 17; Mot., 11-12.)

 3           Additionally, the patent claims at issue in Thales Visionix differ from the asserted claims

 4 here in that they did not explicitly include a mathematical formula and only implicitly invoked

 5 standard physics formulas for determining position. 850 F.3d at 1345-46, 1348-49. In contrast, the

 6 asserted claims of the ’239 patent explicitly include mathematical formulas and those formulas are

 7 the allegedly novel portions of the claims. (See Mot., 11-12.)1 The portions of the other two recent

 8 Federal Circuit cases cited by Huawei do not change existing precedent either. See Aatrix Software,

 9 Inc. v. Green Shades Software, Inc., 890 F.3d 1354, 1359 (Fed. Cir. 2018) (Moore, J., concurring
10 in the denial of the petition for rehearing en banc); Visual Memory LLC v. Nvidia Corp., 867 F.3d

11 1253, 1258 (Fed. Cir. 2017) (merely restating the test set forth in Enfish, LLC v. Microsoft Corp.,

12 822 F.3d 1327, 1335-36 (Fed. Cir. 2016)).

13                  2.      The Asserted Claims of the ’239 Patent Contain No Inventive Step
14           As detailed in Samsung’s Motion, inventor Bingyu Qu admitted that he did not invent the

15 generation of reference signal sequences. (Dkt. 333-18 at 104:9-11.) Samsung also pointed out that

16 Dr. Veeravalli does not contest the opinion of Dr. Madisetti that all of the non-mathematical

17 equation elements of the asserted claims are disclosed by the prior art. (Dkt. 333-13 ¶ 142.) Huawei

18 ignores this evidence in its Opposition.
19           Instead, Huawei disputes Samsung’s application of the legal principles from Parker v. Flook,

20 437 U.S. 584 (1978). Diamond v. Diehr, 450 U.S. 175 (1981), did not reverse Flook, contrary to

21 what Huawei suggests. At no point in Diehr did the Supreme Court say that it was reversing any

22 aspect of its holding from a mere three years earlier in Flook. See, e.g., 450 U.S. at 185 (“Our recent

23 holdings in Gottschalk v. Benson . . . and Parker v. Flook . . . both of which are computer-related,

24 stand for no more than these long-established principles.”); see also Alice Corp. Pty. v. CLS Bank

25
26   1
      Huawei’s complaint that Samsung’s Motion “cites nothing but the claims and the specification”
27 as part of the Alice step one analysis makes no sense. (Opp., 10.) The very case that Huawei cites,
   Thales Visionix, focuses exclusively on the claims and specification of the patent at issue in
28 conducting the Alice step one analysis. 850 F.3d at 1348-49.

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 1 Int’l, 134 S. Ct. 2347, 2358 (2014) (describing the relationship between Flook and Diehr). Instead,

 2 the Supreme Court in Diehr dealt with an entirely different set of claims than in Flook, which led to

 3 a different result.    The claims in Diehr involved a process for curing synthetic rubber that

 4 “employ[ed] a well-known mathematical equation” (the Arrhenius equation). Id. at 187. The

 5 Supreme Court explained that the claims at issue presented a “more efficient” process that was

 6 “created with the aid of knowledge of scientific truth,” while not claiming that scientific truth in

 7 isolation. Id. at 188. Indeed, a review of the claims at issue in Diehr reveals that only a small

 8 portion of each claim recited the Arrhenius equation, while the remainder of each claim described

 9 the more efficient process by which synthetic rubber could be cured. See id. at 179 n.5. In essence,
10 the Arrhenius equation was not the focus of the claims at issue in Diehr but was rather a tool used

11 in the implementation of the useful process described in those claims. See id.

12          The claim at issue in Flook was much different. It was a method claim almost entirely

13 devoted to a mathematical equation for an alarm limit. See 437 U.S. at 596-97. Indeed, it is difficult

14 to select portions of the claim in Flook that are not related to the claimed mathematical formula.

15 See id. The last limitation—“[a]djusting said alarm limit to said updated alarm limit value”—is

16 arguably the only such limitation, aside from the limitation of the claim to the technological

17 environment of “the catalytic conversion of hydrocarbons.” See id. The Supreme Court focused on

18 the process in the claim as a whole and held that the limitation of the process to a particular
19 technological environment and the addition of conventional post-solution activity was insufficient

20 to take the claim out of the realm of unpatentable subject matter. Id. at 589-90; see also Diehr, 450

21 U.S. at 191 (“A mathematical formula as such is not accorded the protection of our patent laws, . . .

22 and this principle cannot be circumvented by attempting to limit the use of the formula to a particular

23 technological environment.”) (citing Flook).

24          The asserted claims of the ’239 patent are much closer to the algorithm-focused claim in

25 Flook than the process-oriented claims in Diehr. As explained in the Motion, only a couple of
26 limitations at the end of those claims are not related to the claimed mathematical formula. (Mot.,
27 13 (describing the limitations of “generating . . . sequences . . .” and “communicating . . . according

28 to the sequences . . .”).) Those basic steps of generating the sequences and sending them to the base

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 1 station closely track the “[a]djusting said alarm limit” limitation from the claim at issue in Flook.

 2 Both involve taking the output of the mathematical formula and using it in a process described in

 3 perfunctory terms. Those final simple steps from the asserted ’239 claims are a far cry from the

 4 complex, innovative process described in the claims in Diehr.           The ’239 claims make the

 5 mathematical formula the centerpiece, whereas the claims in Diehr focus on the process, using the

 6 mathematical formula as just one limited tool. Accordingly, the asserted ’239 claims contain no

 7 inventive step under Alice step two and are therefore directed to unpatentable subject matter.2

 8           D.       Huawei Fails to Identify Any Evidence That the Accused Samsung Products Are
                      Even Capable of Infringing the Asserted ’613 Claims
 9
             In its Motion, Samsung demonstrated that there is no genuine issues of material fact as to
10
     infringement of the ’613 patent, because
11

12
                                                                                                      —
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     two requirements that Huawei does not dispute an Accused Samsung Product needs to even be
14
     capable of receiving the claimed service. (Id.) Huawei’s evidence fails to present any genuine
15
     issues of material fact—Huawei relies on test results that
16
                      and marketing documents on eMBMS. (See Opp., 14-17.) This evidence does not
17
     contradict the overwhelming evidence presented in Samsung’s Motion that the Accused Samsung
18
     Products do not receive the claimed “service.” (See Mot., 15-16.)
19
                      1.     Test Results Do Not Raise a Genuine Issue of Material Fact
20
             Huawei’s Opposition focuses heavily on testing results of the Accused Samsung Products.
21
     (Opp., 14-17.)
22
                                                                                    (See, e.g., Dkt. 352-
23

24

25   2
       The fact that the asserted claims do not preempt the use of the algorithm in all technological
26 contexts  does not rehabilitate them under § 101. Diehr, 450 U.S. at 192 n.14 (“We rejected in Flook
   the argument that because all possible uses of the mathematical formula were not pre-empted, the
27 claim should be eligible for patent protection. . . . A mathematical formula does not suddenly become
   patentable subject matter simply by having the applicant acquiesce to limiting the reach of the patent
28 for the formula to a particular technological use.”).

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 1 9.) Huawei does not, and cannot, contend that its ’613 patent reads on every functionality of

 2 eMBMS. (See Opp., 14-17; ’613 patent at claims 1, 5.) In fact, MBMS existed prior to the ’613

 3 patent. (’613 patent at 1:31-53.) Huawei fails to point to any evidence that the test results on which

 4 it relies so heavily to support its infringement allegations

 5                                                                                            . (See id.)

 6

 7

 8                                                     These test results

 9                   “receiving, by a user equipment (UE), a service sent by a base station, the service
10 being sent in one or more subframes that are designated as specific subframes, the specific

11 subframes being selected from one or more radio frames that are designated as specific radio frames,

12 the specific radio frames being selected from a time unit.” (See id.; ’613 patent at 18:25-30.) Merely

13 showing that                                                is not enough on its own to show that the

14 Accused Samsung Products practice the asserted claims. Huawei has the burden to show that each

15 limitation of the asserted claims is met by the Accused Samsung Products.

16                                                            are insufficient to show that the Accused

17 Samsung Products infringe the asserted ’613 claims.

18           In contrast to the      test results that Huawei points to, Samsung’s Motion cites Samsung
19 testimony, a declaration, and                                            .

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 1

 2                                                           (Mot., 16; Dkt. 333-34 ¶ 3; Dkt. 333-36 ¶ 3;

 3 Dkt. 333-32 ¶ 2.) In light of all of this evidence showing that

 4                                                       testing results cited by Huawei do not create a

 5 genuine issue of material fact.

 6                  2.     Huawei’s Remaining Evidence—Marketing Documents and Press
                           Releases—Do Not Raise a Genuine Issue of Material Fact
 7
             Huawei also cites to what it calls “a plethora of other evidence” that it contends show the
 8
     Accused Samsung Products receiving the claimed “service.” (Opp., 15-16.) In reality, this “other
 9
     evidence” does not support any Accused Samsung Product actually receiving an eMBMS
10
     transmission. (See id.) Huawei first cites to general statements that Samsung has made about
11
     eMBMS in its white papers and press releases. (Opp., 15.) Huawei can point to no portions of these
12
     statements that relate to actual transmissions of eMBMS or any accused product. (See, e.g., Dkt.
13
     352-81 ¶ 263.) The statement that Huawei cites from industry association GSA actually supports
14

15
                   . (See id. ¶ 265; Dkt. 333-32 ¶ 2 (
16
                                                                                                      ).)
17
     Huawei’s statement about Verizon investing in the use of eMBMS to stream video is belied by the
18
     fact that Verizon announced just weeks ago that it will be shutting down its go90 application at the
19
     end of July. (Ex. A (SAMSUNG-HNDCA-000802567); Ex. B (SAMSUNG-HNDCA-000802569);
20
     Ex. C (SAMSUNG-HNDCA-000802577).) The Verizon go90 application is one of the only two
21
     applications that Huawei cites as using eMBMS. (Opp., 16.) Based on the foregoing, the “plethora
22
     of evidence” that Huawei claims to cite actually provides zero evidence of the Accused Samsung
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 1 Products receiving the claimed “service.” Therefore, this additional evidence does not create a

 2 genuine issue of material fact.

 3                 3.      Samsung’s Noninfringement Arguments Apply Equally to Claim 5
 4          Huawei alleges that Samsung’s Motion does not apply to claim 5, an apparatus claim. (Opp.,

 5 18-19.) In so doing, Huawei ignores the Samsung evidence that undisputedly shows that

 6

 7                                                                                     . (See Mot., 15-

 8 16.) Samsung engineers have all unequivocally stated that

 9                                                           . (See Mot., 15; Dkt. 333-26, 333-28; Dkt.
10 333-4 ¶ 4.)                                                 the Accused Samsung Products are not

11 “configured to receive a service sent by the base station” as required by asserted claim 5. (See ’613

12 patent at 18:61-62.)

13          In its Opposition, Huawei does not dispute that

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22                                      Huawei’s assumptions regarding testing do not create a genuine

23 issue of material fact in light of

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11                                                      Accordingly, Samsung’s Motion equally applies

12 to claim 5, an apparatus claim, as it does to claim 1, a method claim.

13          E.      Huawei Failed to Identify Any Legally Cognizable Reduction to Practice for the
                    Motorola Draft, Which Does Not Qualify as Prior Art as a Matter Of Law
14
            In its Motion for Summary Judgment, Samsung demonstrated that the Motorola Draft relied
15
     on by Huawei and its expert, Dr. Mahon, is not prior art because the patent applications relied upon
16
     to show reduction to practice were abandoned. (Mot., 19-20.) As a matter of law, an abandoned
17
     application cannot show reduction to practice under 35 U.S.C. § 102(g). (Id.) Huawei does not
18
     dispute this. Nor do they dispute that the Motorola applications cannot show the requisite reduction
19
     to practice under §102(g). Instead, Huawei raises a new theory of reduction to practice not raised
20
     in its invalidity contentions or expert reports.
21
            Huawei now alleges the Motorola Draft was somehow reduced to practice in the form of
22
     certain “            .” (Opp., 19-20.) Neither Huawei’s contentions nor Dr. Mahon’s report
23
     identified             as reduction to practice. (Ex. D (Exhibit C-9 to Huawei’s First Supplemental
24
     Invalidity Contentions); Dkt. 333-38 (Mahon Reb. Rep.) ¶¶ 111-16.) Indeed, in his deposition, Dr.
25
     Mahon unambiguously confirmed he was relying on Motorola’s provisional patent application as
26
     reduction to practice. (Ex. E at 198:7-10 (“Q. And in order to show reduction to practice, you point
27
     to the filing of the provisional application, right? A. I am citing to that process, yes.”), 199:5-9
28

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 1 (same).) Dr. Mahon also testified that to the extent he referred to               in his report that was

 2 limited to diligence, not reduction to practice. (Id. at 195:12-16 (“

 3

 4                                  ”), 198:22-199:4.) Thus, it is not surprising that Huawei relies on a

 5 declaration from Dr. Mahon generated for purposes of the Opposition rather than what was disclosed

 6 in the expert report he served during discovery.

 7          Huawei’s reliance on a new theory of invalidity raised for the first time in its Opposition

 8 contravenes this District’s rules requiring parties to define invalidity theories early in the course of

 9 litigation. O2 Micro Int’l Ltd. v. Monolithic Power Sys., Inc., 467 F.3d 1355, 1359 (Fed. Cir. 2006).
10 The rules require “a timely showing of good cause” to amend contentions, which in turn “requires

11 a showing of diligence.” Id. at 1366. Huawei has not even attempted to seek leave to amend its

12 contentions, much less demonstrated good cause to do so. Nor could it. The underlying Motorola

13 evidence has been available for over five months. Huawei’s lack of diligence, alone, bars its new

14 theory. Trans Video Elecs., Ltd. v. Sony Elecs., Inc., 278 F.R.D. 505, 509-10 (N.D. Cal. 2011).

15          The prejudice to Samsung should also not be overlooked. Fact and expert discovery have

16 long passed, the parties have made narrowing elections, and are now moving quickly toward trial.

17 Yet, instead of narrowing issues, Huawei has introduced a new theory that neither Samsung nor its

18 experts has had any opportunity to consider or address. Huawei should not be allowed to present a
19 new theory aimed at fabricating a dispute solely to defeat summary judgment. See, e.g., Snyder v.

20 Collura, 812 F.3d 46, 51 (1st Cir. 2016) (“To rule otherwise would be to turn an orderly marshalling

21 of the reasons for and against dismissal of a claim into a game of whack-a-mole, with seriatim

22 summary judgment proceedings not ending until the [moving party] manages to guess every possible

23 legal theory upon which [the non-moving party] might rely to support a claim.”); Murray v.

24 Pennsylvania Mfr. Ass’n Ins. Co., No. CV 17-2282, 2018 WL 1508759, at *10 (E.D. Pa. Mar. 27,

25 2018) (foreclosing “litigation strategy [] akin to a game of whack-a-mole; each time the record
26 evidence foreclosed one theory, Murray popped up with another one”). Thus Huawei’s new theory
27 on opposition should be disregarded for this reason alone.

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 1          Even if the Court were to entertain Huawei’s new theory, it still fails as a matter of law.

 2 Actual reduction to practice requires evidence of a process “that met all the [invention] limitations.”

 3 Fox Group, Inc. v. Cree, Inc., 700 F.3d 1300, 1304 (Fed. Cir. 2012). Yet Huawei has failed to

 4 proffer any independent evidence of the process allegedly performed by Motorola. Rather, Huawei

 5 cites the testimony of the alleged inventor, Dr. Ghosh, describing the                         and

 6

 7                     . Thus, Huawei relies solely on the testimony of the alleged prior inventor to

 8 corroborate the alleged reduction to practice. As this Court has found under similar circumstances,

 9 the alleged inventor’s own testimony cannot prove reduction to practice as a matter of law. See
10 Opticurrent, LLC v. Power Integrations, Inc., No. 17-CV-03597-WHO, 2018 WL 1730326, at *5

11 (N.D. Cal. Apr. 10, 2018) (finding, on summary judgment, no corroboration of alleged actual

12 reduction to practice because “the inventor’s own testimony cannot constitute independent

13 corroboration”); Cooper v. Goldfarb, 154 F.3d 1321, 1330 (Fed. Cir. 1998) (“In order to establish

14 an actual reduction to practice, an inventor’s testimony must be corroborated by independent

15 evidence.” (emphasis added)). The Motorola Draft itself also cannot corroborate the alleged

16 reduction to practice because (1) it is Dr. Ghosh’s document and, like his testimony, cannot qualify

17 as independent corroborating evidence, and (2) it contains no description of the actual process used

18 to generate                    See, e.g., Hahn v. Wong, 892 F.2d 1028, 1031 (Fed. Cir. 1989) (“The
19 inventor . . . must provide independent corroborating evidence in addition to his own statements and

20 documents.” (emphasis added)); Medichem, SA v. Rolabo, SL, 437 F.3d 1157, 1172-73 (Fed. Cir.

21 2006) (finding alleged process results cannot show reduction to practice because they “do not,

22 themselves, adequately corroborate the claimed process” (emphasis in original)). Thus Huawei

23 cannot show reduction to practice of the Motorola Draft, and Samsung’s motion should be granted.

24          F.     There is No Inequitable Conduct With Respect to Samsung’s ’105 Patent
25          Huawei concedes Samsung’s motion for summary judgment of no IC should be granted.
26 III.     CONCLUSION
27          For the foregoing reasons, Samsung respectfully requests that the Court grant its Motion for

28 Summary Judgment.

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 1 DATED: July 24, 2018                   Respectfully submitted,

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 3

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 8                                          Samsung Electronics America, Inc., and
                                            Samsung Research America, Inc.
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